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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


    Civil Action No. 06-cv-00605-PAB-KMT

    CROCS, INC.,
                            Plaintiff,
           v.
    EFFERVESCENT, INC. et al.,
                   Defendants.


         COUNTERCLAIM PLAINTIFFS’ (“DAWGS”) NINTH MOTION TO COMPEL:
        COMPEL COUNTERCLAIM DEFENDANT CROCS TO PRODUCE DOUCMENTS
                                AND THINGS


           Pursuant to Fed. R. Civ. P. 37 and the Court’s Discovery Procedure Order of December 6,

    2016 (D.I. 325), Defendants and Counterclaim Plaintiffs U.S.A. Dawgs, Inc. and Double Diamond

    Distribution, Ltd. (collectively, “Dawgs”)1 hereby move to compel Counterclaim Defendant Crocs,

    Inc. (“Crocs”) to produce all non-objectionable responsive materials within Crocs’ possession,

    custody and control to Dawgs’ August 31, 2016 Second Set of Requests for Production of

    Documents and Things (“2nd RFPs”) Request Nos. 7–10, 12–20, and 23, within 10 days of the Court
    granting this motion.

           Crocs has stated that, subject to a string of objections, it possesses non-objectionable

    responsive materials to Request Nos. 7–10, 12–20, and 23. Exh 1. In seeking compromise, Dawgs

    asked Crocs to produce the non-objectionable documents and then later Dawgs would ascertain

    whether Crocs was being overly restrictive in what it was withholding. Exh. 2. Crocs responded that


    1        For the sake of simplicity and brevity, we refer to the Counterclaim Plaintiffs, both
    collectively and singly, as “Dawgs,” except where there is a material difference between the
    companies. This should not be construed as an admission that these distinct legal entities are alter
    egos. They are both small, family owned companies with overlapping ownership that have been
    gravely injured by Crocs’ illegal activities.


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    “many if not all of these requests for which Crocs has agreed to produce documents implicate the

    ESI Stipulation”. Exh. 3. Crocs said it would not produce any documents until Dawgs agrees to

    negotiate the custodians whom Crocs will search and an agreement is reached on search terms Crocs

    will use in searching the custodians’ files. Id. Dawgs explained the ESI and Email Production Order

    ESI Stipulation (D.I. 235), which it appears the Court has not yet entered, only requires the parties
    to designate custodians and search terms to narrow the search for responsive email (Id. at ¶6), but

    that the ESI Stipulation excluded hardcopy documents and all other non-email ESI from this

    restriction. Exh. 4. Dawgs invited Crocs to explain how the ESI Stipluation was “implicated” (Id.),

    but Crocs refused to respond or make any further effort to resolve this dispute.

            Despite the express wording of the ESI Stipulation that confined the designation of

    custodians and search terms to email searches, Crocs is seeking to unilaterally impose those same

    protocols beyond email. It seems apparent that Crocs is insisting on this bizarre methodology so it

    can shirk its obligations to conduct a reasonable search for responsive materials while also creating a

    byzantine process designed to further delay Crocs’ production of documents.

            Dawgs believes Crocs is trying to force Dawgs into a guessing game of hide and seek. If

    Dawgs fails to correctly guess which Crocs custodians have responsive materials to specific requests

    then Crocs will not have to search beyond the agreed-to list of custodians. Crocs will then be

    relieved of its obligation to produce otherwise known responsive materials possessed by Crocs’

    agents or (former) employees who are not on the custodian list. Worse, the process will encourage

    Crocs’ lawyers to limit the custodian list to those with the least damaging materials. This game of

    “gotcha” is clearly contrary to the obligations Federal Rules 26 and 34 affirmatively impose on a

    responding party.

            The purpose of discovery is to “make a trial less a game of blindman’s buff and more a fair
    contest with the basic issues and facts disclosed to the fullest practicable extent.” United States v.

    Procter & Gamble, 356 U.S. 677, 682 (1958). “Rule 26(g) requires an attorney or a party to certify that



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    every discovery response or objection to the best of the signer’s knowledge, information, and belief,

    formed after a reasonable inquiry, is consistent with the Federal Rules of Civil Procedure and

    warranted by existing case law.” Cache La Poudre Feeds, LLC v. Land O'Lakes, Inc., 244 F.R.D. 614,

    626 (D. Colo. 2007) (applying the Rule 26(g) certification to Rule 34 responses) (italics in original).

    In certifying a response the “signature certifies that the lawyer has a made a reasonable effort to
    assure that the client has provided all the information and documents available to him that are

    responsive.” A PDX Pro Co. v. Dish Network Serv., LLC, 311 F.R.D. 642, 647 (D. Colo. 2015).

            “Rule 34 also impose[s] on Defendants an affirmative duty to seek information reasonably

    available through [Defendant’s] employees, agents and others subject to their control.” Land

    O'Lakes, Inc., 244 F.R.D. at 626 (collecting cases); see also Estakhrian v. Obenstine, No. CV11-3480-

    FMO (CWX), 2016 WL 6868178, at *6 (C.D. Cal. Feb. 29, 2016), report and recommendation adopted sub

    nom. James Estakhrian, et al. v. Mark Obenstine, et al. (C.D. Cal. May 17, 2016) (“In responding to

    requests under Rule 34, [a] party has an obligation to conduct a reasonable inquiry into the factual

    basis of its discovery responses.” (internal citations and quotations omitted)). Dawgs cannot possibly

    know all of Crocs’ agents or those people who may have responsive materials, rendering Crocs’

    guessing game inherently unfair.

            By refusing to produce non-objectionable responsive documents in its possession, custody

    or control unless or until Dawgs engages in this limiting process (and while Crocs continues to

    prevent Dawgs from discovering how Crocs maintains its files or searched for materials responsive

    to Dawgs’ 2nd RFPs or who was involved in the scheme over time2), Crocs will improperly shift to

    Dawgs its obligation to search places where only it could know responsive documents reside.

    Anderson v. Cryovac, Inc., 862 F.2d 910, 929 (1st Cir. 1988) (“Once a proper discovery request has been

    seasonably propounded, we will not allow a party sentiently to avoid its obligations by filing


    2
          See, e.g., D.I. 327 Motion to Compel Rule 30(b)(6) Testimony and D.I. 358 8th Motion to
    Compel: Compel Further Rule 30(b)(6) Testimony.


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    misleading or evasive responses, or by failing to examine records within its control”). It will also

    improperly relieve Arnold & Porter from their obligation to ensure the thoroughness of Crocs’

    responses. If Crocs does not have to search the files of an employee or agent who Crocs skillfully

    kept off of the custodian list, but who Crocs knows has damaging responsive material, then Arnold

    & Porter’s Rule 26(g) certification is meaningless because Crocs and its lawyers will be relieved of
    producing otherwise known responsive material from non-custodians.

            Trial counsel must exercise some degree of oversight to ensure that a client’s
            employees, including in-house counsel are acting competently, diligently and ethically
            in order to fulfill their responsibility to the Court with respect to discovery. Counsel
            has an obligation to assure that the client complies with discovery obligations and
            court orders and, thus, careful inquiry by counsel is mandated in order to determine the
            existence of discoverable documents and to assure their production.

            Sun River Energy, Inc. v. Nelson, 800 F.3d 1219, 1229 (10th Cir. 2015) (italics in original)
            (internal citations and quotations omitted).

            Finally, Crocs is belatedly seeking to impose this mechanism to needlessly delay even longer

    in responding to Dawgs’ 2nd RFPs, which were served on August 31, 2016. Tellingly, in its response

    to Request No. 15 Crocs agreed to produce responsive non-objectionable documents without the

    need to identify custodians or search terms. 3 See Exh. 1. Dawgs specifically demanded that Crocs

    produce those responsive materials, but it refuses to do so without giving a reason. Crocs’ desire to

    add another layer of lawyer-imposed bureaucracy will allow Crocs to find endless reasons for slow-

    walking its production of documents.

            Dawgs respectfully asks the Court to order Crocs to produce all non-objectionable

    responsive material within Crocs’ possession, custody and control to Dawgs 2nd RFPs Request Nos.

    7 – 10, 12 – 20, and 23 within 10 days of the Court’s granting this motion.


    3
            Crocs’ six months of litigation delays, clearly designed to prolong its ultimate day of
    reckoning so that it can continue to collect more than $1.6 million in monopoly profits each day that
    its scheme continues, is detailed in the declaration and exhibits attached to Dawgs’ Second Motion
    to Compel. See D.I. 322-1; see also D.I. 322-2 at 127-130.


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    Dated: December 20, 2016.



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                           Attorneys for Counterclaim Plaintiffs U.S.A. Dawgs, Inc.
                             and Double Diamond Distribution, Ltd. (“Dawgs”)




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                                    CERTIFICATE OF SERVICE


             I hereby certify that on December 20, 2016, a true and correct copy of the foregoing was
    filed via the CM/ECF System and was served upon all attorneys of record who have entered an
    appearance in this case.



                                        s/ Christopher Hellmich




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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


     Civil Action No. 06-cv-00605-PAB-BNB
     (consolidated with Civil Action No. 12-cv-02096-PAB)


     CROCS, INC.,

                         Plaintiff,

           v.

     CHENGS ENTERPRISES, INC., et al.

                         Defendants.



     DOUBLE DIAMOND DISTRIBUTION, LTD.
     and U.S.A. DAWGS, INC.,

                         Counterclaim Plaintiffs,

           v.



     CROCS INC., SCOTT SEAMANS, and JOHN
     AND JANE DOES 1 THROUGH 100,

                         Counterclaim Defendants.




       CROCS, INC.’S REVISED RESPONSES TO DOUBLE DIAMOND DISTRIBUTION,
       LTD. AND U.S.A. DAWGS, INC.’S MODIFIED SECOND SET OF REQUESTS FOR
                             DOCUMENTS AND THINGS




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                            INDIVIDUAL REQUESTS FOR DOCUMENTS



     REQUEST FOR PRODUCTION NO. 7:

            All documents that contain, reference, mention, describe, analyze, summarize or discuss

     the Patents In Suit or their validity, invalidity, enforceability, unenforceability, infringement,

     non-infringement, patentability, scope, or interpretation; including without limitation: (a) all

     documents that contain, reference, mention, describe, analyze, summarize or discuss - cited as

     evidence of (or supporting) the validity, invalidity, enforceability, unenforceability,

     infringement, non-infringement, patentability, scope, or interpretation of any Patent In Suit; (b)

     any oral or written opinion about the validity, invalidity, enforceability, unenforceability,

     infringement, non-infringement, patentability, scope, or interpretation of any Patent In Suit; (c)

     any documents that reference, mention, describe, analyze, summarize or discuss the accuracy,

     inaccuracy, candor, truth or falsity of any of Crocs’ submissions to PTO or ITC (including any

     oral or written opinion received by Crocs regarding the same); (d) any communications that

     reference, mention, describe, analyze, summarize or discuss          any Patent In Suit; (e) all

     documents that contain, reference, mention, describe, analyze, summarize or discuss to

     secondary indicia of non-obviousness of any patent claim of any Patent In Suit, including

     commercial success, long-felt need, failure of others, initial skepticism, or copying or imitation

     by others; (f) documents sufficient to show the design of each item sold or offered for sale in the

     United States by Crocs prior to May 28, 2003, and to establish that each such item was in fact

     sold or offered for sale in the United States by Crocs prior to May 28, 2003; (g) all documents

     that were in the possession of Crocs or Seamans prior to June 23, 2003 that reference, mention,


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     describe, analyze, summarize or discuss footwear; and (h) all documents that reference, mention,

     describe, analyze, summarize or discuss BIHOS, the BIHOS Patent, or the Calzuro Clog (as

     referred to in Dawgs’ Invalidity Contentions served on August 30, 2016).


     RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

            Crocs incorporates each of its General Objections. Crocs objects to this Request as

     improperly seeking privileged information. Crocs objects to this Request on the grounds that it

     is overly broad and unduly burdensome. Crocs objects to this Request on the grounds that it is

     vague as to time, and therefore limitless. Crocs objects to this Request as vague, ambiguous and

     overbroad with respect to the request for all documents that “contain, reference, mention,

     describe, analyze, summarize or discuss - cited as evidence of (or supporting)” the Patents in

     Suit, and with respect to the request for “all documents that were in the possession of Crocs or

     Seamans prior to June 23, 2003 that reference, mention, describe, analyze, summarize or discuss

     footwear.” Crocs objects to this Request as seeking information cumulative to the information

     already produced by Crocs in this litigation, including for the ’465 patent. Crocs objects that this

     request is compound and comprises numerous independent requests, exceeding the Court’s limit

     of 25 Requests, without leave of the Court.

            In particular, Crocs objects on the basis that Request No. 7 uses omnibus terms not only

     to define the scope of the Request, but also to define the scope of each of the seven subcategories

     that are contained in the Request. This renders the request incomprehensible, as Crocs cannot

     identify, for example, all documents that “contain, reference, mention, describe, analyze,

     summarize or discuss the Patents in Suit . . . including without limitation . . . (a) all documents


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     that contain, reference, mention, describe, analyze, summarize or discuss - cited as evidence of

     (or supporting). . . the patents in suit.” Such requests are objectionable in the Tenth Circuit. See,

     e.g., Conagra Foods Food Ingredients Co. v. Archer Daniels Midland Co., 2014 WL 1570263

     (D. Kan. Apr. 28, 2014) (“Judges in this district have held that a discovery request may be

     facially overly broad if the omnibus term is used with respect to a general category or broad

     range of documents.”). Crocs notes that while Defendants have revised others of its Request for

     Production in light of comments made by Magistrate Judge Tafoya on October 6, 2016,

     Defendants made no effort to narrow any of the sub-categories of this Request.

            Subject to and without waiving any of the foregoing objections, Crocs notes that, to date,

     it has produced thousands of documents in this litigation that are responsive to Request No. 7,

     and represent the documents that are reasonably available to Crocs in this regard. Despite

     Defendants’ refusal to narrow the sub-categories of this Request, Crocs is determining whether

     additional responsive materials can be located in the course of a reasonable search. To date,

     Crocs has provided documents sufficient to show the conception and reduction to practice of

     each of the Patents in Suit; potential prior art within Crocs’ possession pertaining to each of the

     Patents in Suit; documents sufficient to demonstrate the scope and proper interpretation of the

     claims of each of the Patents in Suit; documents demonstrating Crocs’ efforts to obtain the

     Patents in Suit (including communications with the Patent Office and other prosecution

     materials); documents and information sufficient to show the identity of individuals who

     authorized Crocs’ enforcement activities against Dawgs and Double Diamond; numerous

     documents demonstrating others’ acts of copying and imitation of the patents (including by

     Double Diamond and Dawgs); other materials relevant to secondary indicia of non-obviousness;


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     and documents sufficient to show the design of each item sold or offered by sale in the United

     States by Crocs prior to the relevant priority date of each the Patents in Suit.

            To the extent Defendants demand that Crocs search files not within its control, or search

     all of its attorneys’ files or otherwise review every potential repository within the company going

     back over 12 years for materials that “contain, reference, mention, describe, analyze, summarize

     or discuss” to the Patents In Suit in any regard, Crocs maintains its objection to the Request and

     its subparts as overbroad and unduly burdensome, in that it would encompass, at a minimum,

     tens of thousands of documents and communications, virtually all of which are privileged and/or

     immune from discovery under the work-product doctrine and/or which would not provide any

     information that is not cumulative to that already produced to Defendants in the course of this

     litigation, and much of which is not reasonably accessible.




     REQUEST FOR PRODUCTION NO. 8:

            All documents that contain, reference, mention, describe, analyze, summarize or discuss

     the design, development, or conception of any part of the footwear described and/or claimed by

     the Patents In Suit, including without limitation: (a) documents reviewed or relied upon in any

     manner by Crocs or Seamans that aided or assisted in the conception, reduction to practice,

     design, and/or development of any subject matter of any Patent In Suit; and (b) documents

     identifying the inventive contribution of any person to the subject matter of the individual claims

     of any Patent In Suit.




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     RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

             Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome. Crocs objects to this Request on the

     grounds that it is vague as to time and therefore overbroad in seeking over a decade worth

     materials, much of which is not reasonably accessible. Crocs also objects to this response as

     seeking material cumulative to the information already produced by Crocs in this litigation.

             Crocs objects to the use of the omnibus terms “contain, reference, mention, describe,

     analyze, summarize or discuss,” particularly as that that “term” is defined at No. 18 of the

     Section of the Requests entitled “Definitions and Instructions.”

             Subject to and without waiving any of the foregoing objections, Crocs notes that, to date,

     it has produced thousands of documents in this litigation that are responsive to Request No. 8,

     and represent the documents that are reasonably available to Crocs in this regard. Despite

     Defendants’ refusal to narrow this Request, Crocs is determining whether additional responsive

     materials can be located in the course of a reasonable search. To date, Crocs has provided

     documents sufficient to show the conception and reduction to practice of each of the Patents in

     Suit; potential prior art within Crocs’ possession pertaining to each of the Patents in Suit;

     documents sufficient to demonstrate the scope and proper interpretation of the claims of each of

     the Patents in Suit; documents demonstrating Crocs’ efforts to obtain the Patents in Suit

     (including communications with the Patent Office and other prosecution materials); other

     materials sufficient to demonstrate secondary indicia of non-obviousness; and documents

     sufficient to show the design of each item sold or offered by sale in the United States by Crocs

     prior to the relevant priority date of each the Patents in Suit.


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             To the extent Defendants demand that Crocs search files not within its control, or search

     all of its attorneys’ files or otherwise review every potential repository within the company going

     back over 12 years for materials that “contain, reference, mention, describe, analyze, summarize

     or discuss” the development of the Patents In Suit in any regard, Crocs maintains its objection to

     Request No. 8 as overbroad and unduly burdensome, in that it would encompass, at a minimum,

     tens of thousands of documents and communications, virtually all of which are privileged and/or

     immune from discovery under the work-product doctrine and/or which would not provide any

     information that is not cumulative to that already produced to Defendants in the course of this

     litigation.



     REQUEST FOR PRODUCTION NO. 9:

             All documents that reference, mention, describe, analyze, summarize or discuss Ettore

     Battiston, L’Artigiana Stampi, and/or any item comprising or related to footwear designed,

     drawn, documented, invented, patented, copyrighted or trademarked by Battiston or L’Artigiana

     Stampi, including the Aqua Clog.


     RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

             Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it purports to seek information outside of Crocs’ possession, custody and control.

     Crocs objects to this Request on the grounds that it is vague, overly broad, unduly burdensome

     and not proportional to the needs of the case in that it seeks “all documents” relating to “any item

     comprising or related to” footwear designed by Battiston or L’Artigiana Stampi. Such requests,



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     for material outside the scope of the case, are not proportional to the needs of the case. See

     Gilead Sciences v. Merck, 2016 WL 146574, (N.D. Cal. Jan. 13, 2016) (finding discovery

     regarding chemical compounds other than those at issue in the case was not proportional to the

     needs of the case under the amended Rule 26). Crocs objects to this Request on the grounds that

     it is vague as to time. Crocs also objects to this Request as seeking information cumulative to

     and duplicative of material already produced by Crocs in this litigation. Crocs objects to the use

     of the omnibus terms “contain, reference, mention, describe, analyze, summarize or discuss,”

     particularly as that that “term” is defined at No. 18 of the Section of the Modified Requests

     entitled “Definitions and Instructions.”

            Subject to and without waiving any of the foregoing objections, Crocs notes that, to date,

     it has produced documents in this litigation that are responsive to Request No. 9, and represent

     the documents that are reasonably available to Crocs in this regard. Despite Defendants’ refusal

     to narrow this Request, Crocs is determining whether additional responsive materials concerning

     Mr. Battiston can be located in the course of a reasonable search. To date, Crocs has provided

     documents sufficient to show the conception and reduction to practice of each of the Patents in

     Suit; potential prior art within Crocs’ possession pertaining to each of the Patents in Suit,

     including the Aqua Clog; as well as documents referencing Mr. Battiston, the Aqua Clog, and

     L’Artigiana Stampi that were produced during the course of the ITC proceeding. To the extent

     Defendants demand that Crocs search files not within its control, or search all of its attorneys’

     files or otherwise review every potential repository within the company going back over 12 years

     for materials that “contain, reference, mention, describe, analyze, summarize or discuss” Mr.

     Battiston or any footwear that he or Stampi worked on in any regard, Crocs maintains its


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     objection to Request No. 9 as overbroad and unduly burdensome, and would yield information

     that is either privileged or cumulative to that already produced to Defendants in the course of this

     litigation.



     REQUEST FOR PRODUCTION NO. 10:

             All documents that reference, mention, describe, analyze, summarize or discuss Crocs’

     attempts to obtain intellectual property rights (either in the United States or in a foreign country)

     to clog footwear, footwear including ventilation, footwear with a strap section that is attached at

     opposite ends to the upper of the base section of the footwear, a strap section for use with

     footwear, or moldable material or foam material.




     RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

             Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the

     case, in that it seeks “all” documents relating to the subject matter of the Request. Croc objects

     to this Request on the grounds that it is vague, overly broad, unduly burdensome and not

     proportional to the needs of the case with respect to the phrases “obtain intellectual property

     rights,” “clog footwear;” and “footwear including ventilation.”

             Crocs objects to this Request in that it seeks “all documents that reference, mention,

     describe, analyze, summarize or discuss” Crocs’ “attempts to obtain intellectual property rights.

     . . . clog footwear, footwear with ventilation . . . ” Such omnibus terms, when used to modify

     broad categories of documents, are facially objectionable. See Trustees of Springs Transit Co.

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     Employee’s Retirement & Disability Plan v. City of Colorado Springs, 2010 WL 1904509, at *5

     (D. Colo. May 11, 2010) (finding discovery requests facially objectionable because of the use of

     omnibus terms, and stating that “it is difficult to imagine what documents or information would

     not be swept up in this definition.”). Crocs objects to this Request on the grounds that it seeks

     extraterritorial information including any intellectual property rights sought outside the United

     States, whereas Defendants have objected to “any request for information regarding sales of

     Dawgs products to consumers or resellers outside of the United States.” See Defendants’

     Responses to Crocs, Inc.’s First Set of Interrogatories, at No. 1. Crocs objects to this Request on

     the grounds that it is vague as to time. Crocs also objects to this Request as seeking information

     cumulative to and duplicative of relevant material already produced by Crocs in this litigation.

            Subject to and without waiving any of the foregoing objections, Crocs notes that, to date,

     it has produced thousands of documents in this litigation that are responsive to Request No. 10,

     and represent the documents that are reasonably available to Crocs in this regard concerning the

     Patents in Suit. Despite Defendants’ broadening of this Request, Crocs is determining whether

     additional responsive materials can be located in the course of a reasonable search. To date,

     Crocs has provided, inter alia, documents sufficient to show the conception and reduction to

     practice of each of the Patents in Suit; potential prior art within Crocs’ possession pertaining to

     each of the Patents in Suit; documents sufficient to demonstrate the scope and proper

     interpretation of the claims of each of the Patents in Suit; and documents demonstrating Crocs’

     efforts to obtain the Patents in Suit (including communications with the Patent Office and other

     prosecution materials).

            To the extent Defendants demand that Crocs search files not within its control, or search


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     all of its attorneys’ files or otherwise review every potential repository within the company going

     back indefinitely for materials that “contain, reference, mention, describe, analyze, summarize or

     discuss” its efforts to “obtain intellectual property rights” in “clog footwear” and other categories

     such as “footwear with ventilators,” Crocs maintains its objection to the Request as overbroad

     and unduly burdensome, in that it would encompass, at a minimum, tens of thousands of

     documents and communications, the bulk of which are likely to be privileged and/or immune

     from discovery under the work-product doctrine and/or would not provide any information that

     is not cumulative to that already produced to Defendants in the course of this litigation.



     REQUEST FOR PRODUCTION NO. 11:

            All documents that reference, mention, describe, analyze, summarize or discuss the

     prosecution of any Patent In Suit and any related patent application (in the United States or any

     foreign country), including, without limitation: (a) any prior art reviewed, searched, considered,

     or discussed (specifically including with Scott Seamans) before or during any aforementioned

     prosecution; (b) documents -- including memos and notes of any legal counsel, including any

     opinions of counsel for Crocs -- that reference, mention, describe, analyze, summarize or discuss

     whether, and if so, what prior art was available prior to filing of the patent applications for the

     Patents In Suit, and any decision to disclose or not disclose any such prior art to the patent

     office; (c) all documents that contain, reference, mention, describe, analyze, summarize or

     discuss any assertion by Seamans that he was and/or is the “sole inventor” of any patent

     application; (d) documents from any lawyer or legal advisor, including any opinions of counsel,

     that contain, reference, mention, describe, analyze, summarize or discuss the patentability or


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     Defendants concerning Mr. Seamans’ 2013 declaration to the U.S. Patent Office.



     REQUEST FOR PRODUCTION NO. 12:

            All documents that contain, reference, mention, describe, analyze, summarize or discuss

     any claim by Crocs that its footwear is made of an “exclusive,” “proprietary,” or “patented”

     material that Crocs calls Croslite, including without limitation: (a) documents showing the

     chemical composition of any material Crocs has called “Croslite” (including all alterations and

     variations in the chemical composition that Crocs has included in any item); (b) internal

     marketing documents referencing Croslite; (c) documents provided to others claiming that

     Croslite is “exclusive,” “proprietary,” or “patented;” and (d) documents that support or refute

     any claim that the material Crocs calls “Croslite” is “exclusive” to Crocs, “proprietary” to

     Crocs, or “patented” by Crocs.


     RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

            Crocs incorporates each of its General Objections. Crocs objects to this Request in that it

     seeks the disclosure of trade secrets and/or confidential, proprietary, or commercially sensitive

     information, to the extent that it seeks “the chemical composition of any material Crocs has

     called ‘Croslite.’” See Pertile v. General Motors LLC, 2016 WL 1059450 (D. Colo. March 17,

     2016) (refusing to compel GM to produce trade secret information because the Plaintiff had not

     “shown that other information already produced by GM was inadequate,” and therefore

     “Plaintiff’s attempt to compel production of the [trade secret] is not proportional”). Crocs

     objects to this Request on the grounds that it is vague as to time. Crocs objects to this Request

     on the grounds that it is overly broad and unduly burdensome and not proportional to the needs

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     of the case with respect to the request for “all” documents “that contain, reference, mention,

     describe, analyze, summarize or discuss” any claim, particularly as that “term” is defined at No.

     18 of the Section of the Modified Requests entitled “Definitions and Instructions.”

            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs has begun producing documents sufficient to show Crocs’

     marketing of Croslite and the specifications of Crocs’ foam footwear.



     REQUEST FOR PRODUCTION NO. 13

            All documents that contain, reference, mention, describe, analyze, summarize or discuss

     Crocs’ wholesale sales to (and arrangements and dealings with) Dealers, including (a) the

     methods, channels, strategies, means, or policies of distributing products to Dealers; (b) the

     selection, retention, monitoring, supervision or termination of Dealers generally or any specific

     Dealer; (c) any Exclusive Arrangements with Dealers; (d) the utility, advantages, or

     disadvantages of distributing footwear through Dealers, (e) the utility, advantages, or

     disadvantages of distributing footwear through direct sale or distribution of footwear to

     consumers by any company, including Crocs; (f) any communications with a Dealer regarding

     the terms or conditions for that Dealer purchasing, distributing, acquiring for resale, advertising

     or reselling Crocs’ products, including without limitation documents that reference, mention,

     describe, analyze, summarize or discuss (i) a Dealer selling or not selling other manufacturer’s

     products that may infringe upon Crocs’ patents, (ii) a Dealer selling or not selling products that

     are similar to Crocs’ products, (iii) a Dealer selling or not selling products manufactured,


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     imported or distributed by particular companies, such as Dawgs, and (iv) any rebates, discounts

     or other special terms offered to a Dealer as an incentive to purchase footwear from Crocs, and

     (g) Agreements between Crocs and any Dealer. (To the extent such Agreements are identical

     except for the identity of the Dealer and the date of the Agreement, you may produce a single

     copy of the Agreement and identify each Dealer -- including the last known address and phone

     number of each Dealer -- who is party to the particular Agreement and the term of that version

     of the Agreement with each Dealer.) (This paragraph specifically excludes bills and invoices to

     individual Dealers, but Dawgs reserves the right to request such documents in the event that the

     other categories of documents do not provide sufficient information regarding Crocs’ sales to

     particular Dealers.)


     RESPONSE TO REQUEST FOR PRODUCTION NO. 13

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the

     case, inasmuch as it is unlimited in terms of time, geography, or product. In particular, Crocs

     objects that Request No. 13 uses the omnibus term “contain, reference, mention, describe,

     analyze, summarize or discuss” (as defined in the Section of the Modified Requests entitled

     “Definitions and Instructions,” at No. 18), to modify seven separate subcategories of documents,

     the sixth of which uses the same “term” again to modify an additional five sub-subcategories.

     This means, for example, that just one of the eleven separate categories of documents sought by

     the Request is as follows: “All documents that contain, reference, mention, describe, analyze,

     summarize or discuss Crocs’ wholesale sales . . . including . . . (f) any communication with a


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     Dealer regarding the terms of conditions for that Dealer. . . including without limitation

     documents that reference, mention, describe, analyze, summarize or discuss (iii) a Dealer selling

     or not selling products manufactured, imported or distributed by particular companies, such as

     Dawgs.” This renders the Request incomprehensible and objectionable on its face, and the scope

     of the information sought unduly burdensome. See, e.g., Rickaby v. Hartford Life & Accident

     Insurance Co., 2016 WL 1597589 at *4 (D. Colo. Apr. 21, 2016) (declining to compel discovery

     where, after “specific consideration of the recent amendments to the Federal Rules of Civil

     Procedure,” the burden of the requested discovery outweighed the value of this information to

     the Plaintiff.”)

             Crocs further objects to this Request on the grounds that it is vague as to time, vague as

     to its geographic scope, and vague as to the term “products that are similar to Crocs’ products.”

     Crocs objects to this Request on the grounds that it is vague, overbroad and unduly burdensome

     in that it requests all documents regarding direct sales of “footwear” to consumers by “any

     company.” Crocs objects that this request is compound and comprises numerous independent

     requests, exceeding the Court’s limit of 25 requests for production. Crocs objects to this Request

     in that is seeks information regarding Crocs’ customers, whereas Defendants have objected to

     “producing any documents of (sic) information that would identify any current actual or potential

     customers of Dawgs.” See Defendants’ Responses to Crocs, Inc.’s First Set of Interrogatories, at

     No. 1. Crocs objects to this Request as vague and overly broad in that it seeks documents related

     to “footwear products,” whereas Defendants have objected objection to the definition of “YOUR

     footwear products” as “imprecise, seeking information that is not relevant to the claims or

     defenses of any party to this matter and proportional to the needs of the case, overly broad,


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     unduly burdensome, vague, ambiguous and disproportionate.” See Defendants’ Responses to

     Crocs, Inc.’s First Set of Interrogatories, at General Objection No. 7.

            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce documents sufficient to show the nature and terms

     of Crocs’ agreements with distributors and/or wholesalers, the identity of Crocs’ major

     distributors and/or wholesalers, and volumes of sales of relevant products.



     REQUEST FOR PRODUCTION NO. 14

            All documents contain, reference, mention, describe, analyze, summarize or discuss the

     advertising, marketing or sales strategies, market shares or projected market shares, market

     conditions or the profitability of, any company (including Crocs) engaged in the manufacture,

     supply, distribution or sale of molded clog-type footwear, casual sandals, casual footwear and

     any broader product category that Crocs contends includes Crocs’ Breach Clog and other

     molded clog-type footwear in any particular geographic market and to any particular consumer

     market, including all strategic plans, long-range plans and business plans of any such company.



     RESPONSE TO REQUEST FOR PRODUCTION NO. 14

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the

     case. Crocs objects to this Request as vague, overly broad and unduly burdensome in that it

     seeks documents “[that] contain, reference, mention, describe, analyze, summarize or discuss”


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     (as that term is defined in the “Definitions and Instructions” section of the Modified Requests, at

     No. 18) the “advertising, marketing or sales strategies, market shares or projected market shares,

     market conditions or the profitability of any company (including Crocs).” See Roadbuilders

     Machine Supply Co. v. Oshkosh Corp., 2012 WL 1580643, at *7 (D. Kan. May 4, 2012)

     (refusing to compel discovery where “the request seeks to have [defendant] produce a potentially

     incalculable number of documents regarding marketing and sales techniques—many of which

     likely have little or no relevance to the disposition of this case”).

             Crocs further objects to this Request as vague, overbroad and unduly burdensome in that

     it seeks documents related to “molded-clog type footwear,” “casual sandals,” “casual footwear

     and any broader product category that Crocs contends includes Crocs’ Breach (sic) Clog and

     other molded clog-type footwear. ” Crocs objects to this Request as vague, overly broad and

     unduly burdensome in that it seeks documents related to “any particular geographic market” and

     to “any particular consumer market.” Crocs objects to this Request as seeking information not in

     Crocs’ possession, custody or control. Crocs objects to this Request as vague, overbroad and

     unduly burdensome in that it seeks “plans” of “any such company.”

             Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce market analyses or other documents sufficient to

     show the estimated market shares of companies in the relevant market or markets, and market

     forecasts or other documents sufficient to show the anticipated development of the relevant

     product market or markets.




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     REQUEST FOR PRODUCTION NO. 15

            All documents contain, reference, mention, describe, analyze, summarize or discuss

     Crocs’ policies or procedures for compliance with any United States federal or state antitrust law

     in connection with the supply, manufacture, distribution, sale, or advertisement or promotion of

     the sale of footwear, or any guidelines or standards of conduct of your company contain,

     reference, mention, describe, analyze, summarize or discuss compliance with such laws in

     connection with such activity.


     RESPONSE TO REQUEST FOR PRODUCTION NO. 15

            Crocs incorporates each of its General Objections. Crocs objects to this Request as

     improperly seeking information that is protected by the attorney-client privilege and/or the work-

     product doctrine. Crocs objects to this Request as vague and overly broad in that it seeks

     documents related to “footwear” whereas Defendants have objected objection to the definition of

     “YOUR footwear products” as “imprecise, seeking information that is not relevant to the claims

     or defenses of any party to this matter and proportional to the needs of the case, overly broad,

     unduly burdensome, vague, ambiguous and disproportionate.” See Defendants’ Responses to

     Crocs, Inc.’s First Set of Interrogatories, at General Objection No. 7. While Crocs does not have

     a policy specific to the antitrust laws, subject to and without waiving any of the foregoing

     objections, Crocs will produce documents sufficient to show Crocs’ code of conduct.



     REQUEST FOR PRODUCTION NO. 16

            All documents contain, reference, mention, describe, analyze, summarize or discuss

     competing products or the competitive conditions in any market or submarkets in which Crocs

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     competes, including market studies, market analyses, consumer studies, Dealer studies, surveys,

     documents contain, reference, mention, describe, analyze, summarize or discuss tests or focus

     group strategic plans, business plans, long-range plans, and/or presentations to Crocs’ senior

     management and/or board of directors regarding the development and licensing of the rights to

     sell the Crocs’ products, the actual or potential financial impact on Crocs’ of the United States

     Patent and Trademark Office (“PTO”) reexamination of the Patents In Suit, and/or of the

     Patents In Suit being found invalid or unenforceable.


     RESPONSE TO REQUEST FOR PRODUCTION NO. 16

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the

     case. In particular, Crocs objects on the basis that Request No. 16 uses the omnibus term

     “contain, reference, mention, describe, analyze, summarize or discuss” to define multiple broad

     categories, including one that is itself prefaced with the term “contain, reference, mention,

     describe, analyze, summarize or discuss” so that in order to respond to the Request, Crocs would

     need to identify “all documents that contain, reference, mention, describe, analyze, summarize or

     discuss . . . documents that contain, reference, mention, describe, analyze, summarize or discuss

     tests or focus group strategic plans, business plans, long-range plans, and/or presentations to

     Crocs’ senior management and/or board of directors regarding the development and licensing of

     the rights to sell the Crocs’ products.” This is a set of documents that cannot reasonably be

     assembled, particularly where the Request seeks it in reference to all Crocs’ products. See In re

     Urethane Antitrust Litigation, 2008 WL 110896, *1 (D. Kan. 2008) (denying motion to compel


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     where discovery request used omnibus terms to modify broad categories of documents and

     thereby “require[d] the respondent either to guess or move through mental gymnastics . . . to

     determine which of many pieces of paper may conceivably contain some detail, either obvious or

     hidden, within the scope of the request”).

            Crocs further objects to this Request on the grounds that it is vague as to time. Crocs

     objects to this Request as vague, overly broad and not proportional to the needs of the case in

     that it seeks documents related to “any market or submarkets in which Crocs competes,”

     “competitive conditions,” and “tests or focus group strategic plans.” Crocs objects on the

     grounds that the Request for documents regarding “the actual or potential financial impact on

     Crocs of the United States Patent and Trademark Office (“PTO”) reexamination of the Patents In

     Suit, and/or of the Patents In Suit being found invalid or unenforceable” are not relevant to any

     claim or defense in this case, nor reasonably calculated to lead to the discovery of admissible

     evidence. Crocs objects to this Request as improperly seeking privileged information.

            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce documents sufficient to show the competitive

     landscape for Crocs’ existing products and/or potential new products, documents sufficient to

     show comparisons of Crocs’ products to other footwear products, and documents sufficient to

     show the pricing of Crocs’ products in comparison to the pricing of other products.




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     REQUEST FOR PRODUCTION NO. 17

            All documents that reference, mention, describe, analyze, summarize or discuss any

     actual or potential competitors of Crocs, including Dawgs, and competing products, including

     without limitation all documents that comprise, reference, mention, describe, analyze,

     summarize or discuss (a) Crocs’ communications with shoe manufacturers, designers,

     wholesalers or retailer companies, customers and/or analysts or ratings agencies that relate in

     any way to Dawgs or its affiliated companies or products, (b) Crocs’ superior business acumen

     or other competitive advantages, if any, over its actual or potential competitors, (c) any

     competitive or comparative advantages, benefits or features of the Crocs’ products vis a vis

     competing products (and vice versa), (d) actual or estimated prices, volumes, costs and market

     shares for any and all products manufactured by third parties which compete with Crocs’

     product(s), (e) characteristics of the markets and submarkets (both product and geographic) in

     which Crocs’ products are sold, including identification of and description of activities of all

     competitors; (f) prices at which any products made by any third parties which are competitive

     with Crocs’ product(s) have been sold or offered for sale from 2000 to the present, and (g) the

     anticipated or projected prices, volume and profit margin at which Crocs’ products would have

     been sold or offered for sale from 2000 through 2023 (the expiration date of the Patents In Suit)

     if not for the existence of the Patents In Suit and Crocs’ enforcement of those patents.



     RESPONSE TO REQUEST FOR PRODUCTION NO. 17

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the



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     case. See Roadbuilders Machine Supply Co. v. Oshkosh Corp., 2012 WL 1580643, at *7 (D.

     Kan. May 4, 2012) (refusing to compel discovery where “the request seeks to have [defendant]

     produce a potentially incalculable number of documents regarding marketing and sales

     techniques—many of which likely have little or no relevance to the disposition of this case”).

     Crocs objects to the Request as not proportional to the needs of the case in that it uses the term

     “reference, mention, describe, analyze, summarize or discuss” (as that term is defined in the

     “Definitions and Instructions” section of the Requests, at No. 18) to modify numerous overbroad

     categories of documents.

            Crocs objects to this Request on the grounds that it is vague as to time and appears to

     encompass nearly a quarter-century worth of information. Crocs objects that this Request is

     compound and comprises numerous independent requests, exceeding the Court’s limit of 25

     requests for production. Crocs objects to this Request as vague, overly broad and unduly

     burdensome with respect to the term “actual or potential competitors” and “competing products”

     and “any and all products manufactured by third parties which compete with Crocs’ products,

     and “characteristics of the markets and submarkets (both product and geographic)” and

     “description of activities of all competitors.” Crocs objects to this Request as seeking

     information that is neither relevant to any claim or defense in this action nor reasonably

     calculated to lead to the discovery of admissible evidence. Crocs objects to this Request on the

     grounds that it is unlimited with respect to geographic location, whereas Defendants have

     objected to “any request for information regarding sales of Dawgs products to consumers or

     resellers outside of the United States.” See Defendants’ Responses to Crocs, Inc.’s First Set of

     Interrogatories, at No. 1.


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            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce Documents sufficient to show the competitive

     landscape for Crocs’ existing footwear products that practice the Patents-in-Suit, documents

     sufficient to show comparisons and analyses of Crocs’ footwear products that practice the

     patents-in-suit to other comparable footwear products, and documents sufficient to show the

     pricing of Crocs’ footwear products that practice the patents-in-suit in comparison to the pricing

     of other comparable footwear products.



     REQUEST FOR PRODUCTION NO. 18

            All documents contain, reference, mention, describe, analyze, summarize or discuss

     actual or anticipated prices, revenues, profits and marginal costs attributable to Crocs’ products

     at any time (individually by product, by product line, by product type, by product category and

     in any other way that Crocs separates its products for any purposes), including without limitation

     those discussing revenues and profits attributable to or derived, in whole or in part from the

     Patents In Suit or the impact on Crocs’ product pricing, revenues and profits for the period

     2000 through 2023 (the expiration date of the Patents In Suit) if the Patents In Suit were invalid

     or unenforceable.



     RESPONSE TO REQUEST FOR PRODUCTION NO. 18

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the



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     case. In particular, the burden of producing “all documents that contain, reference, mention,

     describe, analyze, summarize or discuss” (as that term is defined in the “Instructions and

     Definitions” section of the Requests, at No. 18) the pricing and/or cost of any of Crocs’ products

     at any time far outweighs the relevance of such information. See Rickaby v. Hartford Life &

     Accident Insurance Co., 2016 WL 1597589 at *4 (D. Colo. Apr. 21, 2016) (declining to compel

     discovery where, after “specific consideration of the recent amendments to the Federal Rules of

     Civil Procedure,” the burden of the requested discovery outweighed the value of this information

     to the Plaintiff.”)

             Crocs objects to this Request as seeking information that is neither relevant to any claim

     or defense in this action nor reasonably calculated to lead to the discovery of admissible

     evidence. Crocs objects that this Request is vague, overly broad and unduly burdensome in that

     it seeks “all documents” related to “actual or anticipated prices” regarding “Crocs’ products”

     without limitation, “any time” and “including without limitation.” Crocs objects that this

     Request is unduly burdensome and not proportional to the needs of the case in that it seeks

     information about Crocs’ products “individually by product, by product line, by product type, by

     product category and in any other way that Crocs separates its products.”

             Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce documents sufficient to show the prices at which

     Crocs’ products relevant to this litigation were sold at retail during the relevant time periods,

     documents sufficient to show Crocs’ total sales during the relevant time period, documents

     sufficient to show Crocs’ total sales and costs by relevant product or product category during the


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     relevant time period.



     REQUEST FOR PRODUCTION NO. 19

            Price lists or other documents sufficient to establish the prices at which any of Crocs’

     products have been sold or have been offered for sale at all times from 2000 to the present, the

     marginal costs and profit margin for each product (on a quarterly basis) and the monthly,

     quarterly and annual sales of Crocs’ products (individually by product, by product line, by

     product type, by product category and in any other way that Crocs separates its products for any

     purposes), dating back to 2000.



     RESPONSE TO REQUEST FOR PRODUCTION NO. 19

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the

     case in that it seeks information regarding “any of Crocs’ products [that] have been sold or have

     been offered for sale.” See Gilead Sciences v. Merck, 2016 WL 146574, (N.D. Cal. Jan. 13,

     2016) (finding discovery regarding chemical compounds other than those at issue in the case

     was not proportional to the needs of the case under the amended Rule 26).

              Crocs objects that this Request as unduly burdensome in that it seeks information about

     Crocs’ products “individually by product, by product line, by product type, by product category

     and in any other way that Crocs separates its products.” Crocs objects to this Request as seeking

     information that is neither relevant to any claim or defense in this action nor reasonably

     calculated to lead to the discovery of admissible evidence.


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            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce documents sufficient to show the prices at which

     Crocs’ products relevant to this litigation sold at retail during the relevant time period,

     documents sufficient to show Crocs’ total sales during the relevant time period, and documents

     sufficient to show Crocs’ total sales and costs by relevant product category during the relevant

     time period.


     REQUEST FOR PRODUCTION NO. 20

            All documents that comprise, reference, mention, describe, analyze, summarize or

     discuss advertising, marketing or sales efforts for Crocs’ products, including without

     limitation any Securities and Exchange Commission filings or sales, advertising and

     marketing materials that refer to the United States as a separate market and the factors that

     differentiate categories and types of footwear.



     RESPONSE TO REQUEST FOR PRODUCTION NO. 20

            Crocs incorporates each of its General Objections. Crocs objects to this Request on the

     grounds that it is overly broad and unduly burdensome and not proportional to the needs of the

     case, inasmuch as it seeks “all documents that comprise, reference, mention, describe, analyze,

     summarize or discuss advertising, marketing or sales efforts for Crocs’ products.” See

     Roadbuilders Machine Supply Co. v. Oshkosh Corp., 2012 WL 1580643, at *7 (D. Kan. May 4,

     2012) (refusing to compel discovery where “the request seeks to have [defendant] produce a



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     potentially incalculable number of documents regarding marketing and sales techniques—many

     of which likely have little or no relevance to the disposition of this case”).

            Crocs objects to this Request on the grounds that it is unlimited as to time. Crocs objects

     to this request on the grounds that it requests information that is available from public sources,

     such as SEC filings, and that it conflates SEC filings with advertisements or materials that bear

     upon the relevant product or geographic market.

            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce documents sufficient to show the marketing of

     Crocs’ products that practice the Patents-in-Suit, and documents sufficient to show the attributes

     of Crocs’ products that practice the Patents-in-Suit.


     REQUEST FOR PRODUCTION NO. 21

            All documents contain, reference, mention, describe, analyze, summarize or discuss

     Crocs’ enforcement or attempted enforcement of intellectual property rights concerning the

     subject matter of any Patents In Suit, including without limitation all documents (a) received,

     served or filed in connection with any such claims, arbitrations, administrative proceedings or

     litigations, (b) produced or by Crocs or any other party in connection with the ITC proceedings

     regarding the Patents In Suit and transcripts of all depositions and hearings from the ITC

     proceedings regarding the Patents In Suit, (c) contain, reference, mention, describe, analyze,

     summarize or discuss any alleged violation of state or federal antitrust, unfair competition, trade

     or business practice laws, or similar laws by Crocs, including any lawsuits or counterclaims


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     Crocs’ production of ESI, Crocs notes that, on or about November 8, 2016, Crocs produced

     documents responsive to this Request of which Crocs is aware and that could be located in the

     course of a reasonable search.

     REQUEST FOR PRODUCTION NO. 23

              All documents contain, reference, mention, describe, analyze, summarize or discuss

     Crocs’ policy(ies) and practices concerning retention, storage, or destruction of any documents,

     including without limitation documents regarding the creation, issuance, implementation or

     enforcement of any litigation hold(s) (including or any supplemental litigation holds or

     suspension of document destruction guidelines) regarding documents potentially relevant to this

     Action (hereinafter, the “Litigation Holds”) in this case, including without limitation, documents

     sufficient to show the identities of (a) the person(s) responsible for the creation, issuance,

     implementation and enforcement of the Litigation Holds (b) all individuals and files that were

     subject to the Litigation Holds and (c) all individuals who received notice of the Litigation

     Holds.


     RESPONSE TO REQUEST FOR PRODUCTION NO. 23

              Crocs incorporates each of its General Objections. Crocs objects to this Request as

     improperly seeking privileged information with the apparent purpose of causing Crocs to waive

     its privilege in providing any documents, particularly insofar as Defendants seek the instructions

     of counsel with respect to legal holds. Crocs objects to this Request on the grounds that it is

     overly broad and unduly burdensome and not proportional to the needs of the case generally, and

     in particular to the extent that it uses the term “contain, reference, mention, describe analyze,

     summarize or discuss” as that “term” is defined in the Section of the Requests entitled

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     “Definitions and Instructions,” at No. 18. Crocs objects to this Request on the grounds that it is

     vague as to time. Crocs objects on the grounds that this Request is neither relevant to any claim

     or defense in this action nor reasonably calculated to lead to the discovery of admissible

     evidence. Crocs objects to this Request as cumulative of Defendants’ notice of deposition

     pursuant to Rule 30(b)(6). See Defendants’ First Notice of Deposition of Crocs, Inc. Pursuant to

     Rule 30(b)(6) (Corporate Organization, Personnel and Documents, at Topic No. 6(a)-(d).

            Subject to and without waiving any of the foregoing objections, and subject to the parties

     reaching agreement regarding the custodians and search terms to be used in connection with

     Crocs’ production of ESI, Crocs will produce documents sufficient to show its data management

     and retention policies.



     REQUEST FOR PRODUCTION NO. 24

            All documents prepared by any person in connection with Crocs’ response to these and

     Dawgs’ prior document requests or any other discovery vehicle in the course of this Action,

     including without limitation each document index prepared in responding to Dawgs’ discovery

     requests or otherwise complying with Crocs’ obligations under Fed. R. Civ. P. 26 and 34 and

     documents sufficient to show the custodians and file locations of all files, both physical and

     electronic that Crocs searched for responsive documents and information, and those that Crocs

     elected not to search for responsive documents and information, and identifying the custodian of

     each document or thing produced in this Action.




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                                                                                              Christopher W. Hellmich
                                                                                              Telephone 949.287.5708
                                                                                              Facsimile   714.974.7733
                                                                                              chellmich@hellmichlaw.com




                                                                 December 7, 2016


         VIA EMAIL


         Sean M. Callagy
         Arnold & Porter, LLP
         Three Embarcadero Center, 10th Floor
         San Francisco, CA 94111-4024
         sean.callagy@aporter.com


                   Re:          Civil Action No. 06-cv-00605-PAB-KMT: Dawgs’ Second Set of Requests for
                                Production of Documents and Things (2nd RFPs).


         Dear Mr. Callagy:

                I am sure that you have seen my appearance in this matter on behalf of U.S.A. Dawgs, Inc.
         and Double Diamond Distribution, LTD. I kindly ask that you and your team include me in future
         communications about this case.
                   One of my primary tasks is to lead Dawgs’ efforts to secure affirmative discovery
         propounded on Crocs and Mr. Seamans. Therefore, allow me to jump into two pressing matters
         related to Dawgs’ 2nd RFPs served on Crocs and Mr. Seamans on August 31. First, we have no
         record of Mr. Seamans providing any written response or objections to the 2nd RFPs. Would you
         please confirm by Monday, December 12, that Mr. Seamans will be producing all responsive
         documents without objection as his failure to respond results in him waiving his right to object to
         2nd RFPs. Recognizing that Mr. Seamans’ document production is long overdue I see no reason why
         his production cannot be completed by the end of next week Friday, December 16.
                   Next, Crocs’ November 17 response to Dawgs’ 2nd RFPs contains many instances in which
         Crocs agrees it possesses nonobjectionable responsive documents. I refer you to Responses 7 – 10,
         12 – 20, and 23. Please confirm that by Monday, December 12 Crocs will begin producing those
         nonobjectionable responsive documents to these requests. Again, since Crocs has had these requests
         for three months there should be no reason why a rolling production of these documents cannot
         commence immediately with it being completed by Friday, December 16.
                   Please note, that Dawgs is not agreeing that any of Crocs’ objections, reservations or the
         manner in which Crocs purports to limit its production of documents is appropriate. Rather, Dawgs
         is amenable to reviewing Crocs’ production and then ascertaining whether it appears Crocs has
         satisfactorily complied with its discovery obligations.




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         Mr. Callagy
         December 7, 2016
         Re. Dawgs’ Second Set of Requests for Production of Documents and Things
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                I will be working out of Dawgs’ office the remainder of this week so I can be contacted
         through Dawgs’ main telephone number (702)260-1060 should you like to discuss these matters.
                   I look forward to working with you and your team on this case.

                                                                       Sincerely,


                                                                       Chris Hellmich



         cc:

         Steve Mann (via email)
         Mitchell C. Shapiro (via email)




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                                                                              +1 415.471.3107
                                                                              +1 415.471.3400 Fax
                                                                              10th Floor
                                                                              Three Embarcadero Center
                                                                              San Francisco, CA 94111-4024




                                            December 13, 2016


        VIA E-MAIL

        Christopher W. Hellmich
        Hellmich Law Group, P.C.
        5753-G E. Santa Ana Road, Suite #512
        Anaheim Hills, CA 92807

               Re:     Dawgs’s Second Set of Requests for Production

        Dear Mr. Hellmich:

                This letter responds to your query, in your letter of December 7, 2016, regarding
        the date by which Crocs will produce documents in response to the Second Set of
        Document Requests.

               To begin with, we note that Crocs has made a number of separate productions in
        response to the Second Set of Request. We anticipate continuing to produce documents
        that we are able to identify as responsive and non-privileged on a rolling basis over the
        next several weeks.

                We note, however, that many if not all of the requests for which Crocs has agreed
        to produce documents implicate the ESI Stipulation, and that for this reason Crocs has
        agreed to produce documents “subject to the parties reaching agreement regarding the
        custodian and search terms to be used in connection with Crocs’ production of ESI.” To
        date your client has refused to propose any search terms, and as a result Crocs’s ability to
        conduct a reasonable search for responsive documents is constrained by the overly broad
        nature of the requests.

                 Should you wish to meet and confer regarding the requests referred to in your
        letter, or provide a list of proposed search terms, please let us know.
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        Christopher W. Hellmich
        December 13, 2016
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                                          Sincerely,



                                          /s/ Sean Callagy
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                                                                                               Telephone 949.287.5708
                                                                                               Facsimile   714.974.7733
                                                                                               chellmich@hellmichlaw.com


                                                                December 13, 2016


         VIA EMAIL


         Sean M. Callagy
         Arnold & Porter, LLP
         Three Embarcadero Center, 10th Floor
         San Francisco, CA 94111-4024
         sean.callagy@aporter.com


                   Re:          Civil Action No. 06-cv-00605-PAB-KMT: Dawgs’ Second Set of Requests for
                                Production of Documents and Things (2nd RFPs).


         Dear Mr. Callagy:

                I’m writing in response to your second letter of today addressing Crocs’ failure to provide
         documents responsive to Dawgs’ 2nd RFPs Requests 7-10, 12-20, and 23.
                  I have reviewed the ESI stipulation that you referenced and the designation of custodians
         and search terms applies only to searches for email. Nowhere does the stipulation apply more
         broadly and require the parties to agree on custodians and search terms for non-email documents
         maintained electronically. Moreover, even if it did the ESI stipulation would not cover hardcopy
         documents that surely exist and have not been produced. Indeed, in Response to Request No. 15
         Crocs agreed to produce responsive documents without any need to identify custodians or search
         terms. Yet, Crocs still has not produced any documents responsive to that request.
                   Absent a showing that the ESI stipulation requires the parties to negotiate the custodians
         to be searched and the terms for Crocs to use to search for responsive materials, then it remains
         Crocs’ obligation to perform that analysis. Please confirm by noon tomorrow that Crocs will
         perform the search for the responsive materials it has agreed to produce including ESI other than
         email and that Crocs will begin a rolling production of documents starting December 20, 2016.

                                                                       Sincerely,


                                                                       Chris Hellmich

         cc:
         Steve Mann (via email)
         Mitchell C. Shapiro (via email)




5753-G E. Santa Ana Canyon Road, Suite #512, Anaheim Hills, CA 92807
